
2 Cal.App.2d 748 (1934)
In the Matter of the Application of EDGAR M. GROSSMAN, Publisher, to Establish the Standing of "El Heraldo de Mexico" of Los Angeles, California, as a Newspaper of General Circulation. EDGAR M. GROSSMAN, Respondent,
v.
ROY E. ARDERY, Appellant.
Civ. No. 8291. 
California Court of Appeals. Second Appellate District, Division One.  
December 8, 1934.
 Stanley F. Maurseth, Hill, Morgan &amp; Bledsoe and Kenneth K. Wright for Appellant.
 Chotiner, Recht &amp; Chotiner for Respondent.
 Carroll H. Smith, as Amicus Curiae on Behalf of Appellant.
 Memorandum
 Houser, J.
 The appeal herein is from a judgment by which a newspaper printed in the Spanish language and known as "El Heraldo de Mexico" was adjudicated a newspaper "of general circulation", within the meaning and intent of the provisions of sections 4458 to 4465, inclusive, of the Political Code.
 [1] With the general exception that a comparatively small part of the newspaper in question was printed in the English language, to all intents and purposes the situation of the newspaper in regard to a compliance with the requirements *749 contained in the Constitution of this state and the statute to which reference hereinbefore has been had does not differ from that more particularly set forth in the opinion this day filed in the Matter of L'Italo-Americano, Civil No. 8290 (ante, p. 690 [38 PaCal.2d 810]). Relying upon the decision in that case as authority applicable to the facts herein, it is ordered that the judgment be, and it is, reversed.
 Conrey, P. J., and York, J., concurred.
